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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="47769a9533"&gt;&lt;span data-sentence-id="ce9c2819ee" quote="false" data-paragraph-id="47769a9533"&gt; The People of the State of Colorado, Respondent &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="79f32c3081" quote="false" data-paragraph-id="47769a9533"&gt; &lt;br /&gt; In the Interest of Petitioner: D.L-M., a Juvenile.&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="c981d8a5f5"&gt;No. 24SC229&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19d73df42c"&gt;August 5, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="ba415a95f0"&gt;&lt;span data-sentence-id="565e132a73" quote="false" data-paragraph-id="ba415a95f0"&gt; Court of Appeals Case No. 22CA643 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;2&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="41e033a2e8"&gt;&lt;span data-sentence-id="d6d9b411c2" quote="false" data-paragraph-id="41e033a2e8"&gt; DENIED PETITIONS FOR WRIT OF CERTIORARI &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
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